                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC                                                         PLAINTIFFS
 LIBRARY, et al.

                                         NO. 5:23-cv-5086
          v.

                                                                             DEFENDANTS
 CRAWFORD COUNTY,
 ARKANSAS, et al.

                          DECLARATION OF CHRISTINA DANOS

      I, Christina Danos, hereby declare under penalty of perjury as prescribed in 28 U.S.C.

§ 1746:

          1.    The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ motion for a preliminary injunction.

          2.    I am a member of the Association for Rural and Small Libraries (“ARSL”) and the

Arkansas Library Association (“ArLA”).

          3.    I live in Carroll County, Arkansas and have worked at the Eureka Springs Carnegie

Public Library (“ESCPL”) for 17 years. I was promoted to Director of ESCPL on January 3rd,

2023. In my capacity as Director of ESCPL, I plan and direct the provision of library services to

ESCPL’s patrons, which means that I am primarily responsible for ensuring that ESCPL complies

with Act 372.

          4.    From my training and professional experience, I am familiar with the best practices

that should govern a public library’s acquisition and display of materials in its collection, which
call for public libraries to make available the widest diversity of views and expressions, including

those that are unorthodox, unpopular, or considered dangerous by the majority.

       5.     ESCPL was created in 1910 with a grant from Andrew Carnegie. It is a public

library formed pursuant to Arkansas law to provide library services to local residents.

       6.     Under my supervision, ESCPL maintains a collection of over 42,000 items, which

have been acquired and are displayed in keeping with best practices for public library

administration and within the physical constraints of the facilities maintained by ESCPL. The

items in ESCPL’s collection are principally displayed in the library’s open floor plan on

bookshelves that are logically arranged by genre and reading ability, such that a reader can quickly

find the item they are looking for or, alternatively, browse through and consider materials that

match their interests and comprehension levels. This setup is typical for other libraries that I have

seen and visited in Arkansas. A true and correct copy of ESCPL’s Selection Policy Statement is

attached hereto as Exhibit A.

       7.     It is my belief that some of the items in ESCPL’s collection, though constitutionally

protected, could be deemed harmful to or inappropriate for minors and therefore subject to the

criminal penalties in Section 1 of Act 372 of 2023 or a challenge under Section 5 of Act 372. For

instance, I know that ESCPL has in its collection art and medical books that depict nudity.

Although these books have indisputable scientific, medical, and/or artistic value for adults and

many older minors, some people could conceivably consider them harmful to younger (or even

older) minors.

       8.     At present these books are not physically and securely segregated and could be

viewed by ESCPL patrons as young as age 10, who are currently allowed to be in the library

without an adult chaperone. ESCPL maintains this policy to support children’s access to reading



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material and to foster a love for reading. Visitors who are younger than 10 years old must be

accompanied by an adult to enter ESCPL facilities. A true and correct copy of ESCPL’s Policy

for Minors Using the Library is attached hereto as Exhibit B.

       9.     Nor does ESCPL currently have any rooms in which materials could be segregated

and kept physically secure from younger readers that are not presently being used for some other

purpose, such as a community meeting space. And constructing new, secure spaces within the

library is not a viable option for ESCPL due to its historic significance.

       10.    Attempting to reconfigure the layout of ESCPL’s collection to comply with Act

372 would take a considerable amount of time and manpower, and the additional staff that would

be necessary to monitor that newly created section during library open hours would, on its own,

cost upwards of $44,400. ESCPL does not have the budget to accommodate this expense.

       11.    Even if ESCPL had a space to securely segregate material, it does not have enough

staff to review every item in the collection to determine whether that item might subsequently be

deemed harmful to a younger minor by a prosecutor or challenged as inappropriate. That level of

review would, at a minimum, require the staff to review each item in ESCPL’s collection closely

enough to understand the content of the item and context in which that content is presented to the

reader or viewer. Optimistically, a title-by-title review of 42,000 physical items using ESCPL’s

qualified librarians would take an estimated 26 years to accomplish, if each librarian is able to

review two hundred items per year in addition to their other duties. ESCPL cannot possibly

manage to do that without shutting down its core services.

       12.    In addition to ESCPL’s limited staff, ESCPL also provides volunteer, community

service, and internship opportunities for minors. These positions are essential to the library’s

ability to provide services and meet the needs of library users. They also provide an important



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opportunity for students in who are passionate about books to learn about how a library works

and gain practical skills. To effectively participate in library work, our 16- and 17-year-old interns

and employees must be able to access ESCPL’s entire collection of materials. If their access is

restricted to materials that are suitable for ESCPL’s youngest readers, these interns and employees

will be unable to either aid many of ESCPL’s patrons or ensure that materials are properly re-

shelved.

        13.    For all of these reasons, I do not believe that ESCPL is in a position to make the

drastic and prohibitively expensive changes to its floor plan and operating procedures that appear

to be necessary to segregate all potentially covered materials in the collection and to otherwise

comply with Act 372.

        14.    Moreover, even if ESCPL were in a position to change its physical layout to

accommodate a dedicated space for segregated materials, doing so would deprive readers of

access to information to which they are entitled, because such books would be harder to find and

would require patrons to seek them out in a stigmatized “adults-only” area. For instance, the

segregation of materials necessary to comply with Act 372 might, in some cases, require ESCPL

to separate books within a series, which would be confusing for patrons and not in keeping with

library best practices.

       15.     Because compliance with Act 372 will be difficult to accomplish for ESCPL, I am

concerned that I could be criminally charged for simply doing my job and trying to make books

available to all of ESCPL’s readers, including both its youngest minor readers and more mature

readers, that will be interesting, engaging, and well-matched to a reader’s abilities and level of

comprehension.




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       16.      I will be irreparably harmed if I face criminal penalties, including up to a year in

prison, for simply doing my job. Moreover, the hardship of a prison sentence would fall not only

on me, but also on my family.

       17.      Even if I, or others at ESCPL, are not charged with a crime, I expect that ESCPL

will be regularly burdened by challenges made under Section 5 of Act 372. According to

www.salary.com, the national average salary for librarians in $71,176. The average pay at ESCPL

is $31,132, or 56% less than that average. It can be difficult to find competent workers at these

wages, and we are fortunate to have found employees willing to work for substandard industry

pay. This is because they believe in the important role of libraries in communities. Adding the

threat of incarceration and additional responsibilities to act a content censor would create more

obstacles in the hiring and retention of qualified staff members.

       18.      ESCPL currently has a process through which patrons can request reconsideration

of materials in the library’s collection. This process has worked well for ESCPL for approximately

20 years and allows the library to be responsive to the feedback of its patrons, including negative

feedback, while not unduly burdening ESCPL staff or permitting the views of a few to shape what

is available in our collection for the many thousands of patrons we serve. The Reconsideration of

Materials policy is incorporated into the Selection Policy Statement. See Exhibit A, at pages 4-5.

A true and correct copy of the Request for Reconsideration form used by ESCPL is attached hereto

at Exhibit C.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed May 15, 2024 in Carroll County, Arkansas.


                                                                     /s/ Christina Danos
                                                                     Christina Danos



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A
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C
